
PER CURIAM.
Because this petition seeks belated appeal of an order which dismissed a petition for writ of habeas corpus, the petition for belated appeal is dismissed for lack of jurisdiction. See Powell v. Florida Dep’t of Corr., 727 So.2d 1103 (Fla. 1st DCA 1999) (stating that because the proceedings below were civil in nature, the provisions of Florida Rule of Appellate Procedure 9.141(c) are not applicable). This disposition is without prejudice to petitioner’s right to seek relief in the circuit court by a motion for relief from judgment pursuant to Florida Rule of Civil Procedure 1.540(b). See, Hollingsworth v. Szczecina, 731 So.2d 790 (Fla. 1st DCA 1999); Brown v. State, 708 So.2d 1041 (Fla. 1st DCA 1998); Snelson v. Snelson, 440 So.2d 477 (Fla. 5th DCA 1983).
VAN NORTWICK, ROBERTS, and ROWE, JJ., concur.
